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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION


JOHN DOE HM, an individual,            )
                                       )
         Plaintiff,                    )
                                       )
     vs.                               )                        Case No. 4:07CV00946 ERW
                                       )
CITY OF CREVE COEUR, MISSOURI, et al., )
                                       )
         Defendants.                   )


                                   MEMORANDUM AND ORDER

           This matter comes before the Court on the Amended Motion for Costs of Defendants

Thomas Lasater, Michael Thomeczek, Jerry Lee, and St. Louis County, Missouri (collectively,

“Defendants”) [doc. #183]. In its Memorandum and Order dated September 30, 2009 [doc.

#179], the Court granted summary judgment in favor of Defendants on all claims asserted against

them, and Defendants now seek to recover $11.067.751 in costs from this litigation. Plaintiff

asserts a number of arguments in opposition to Defendants’ Motion, and the Court considers each

in turn.

I.         CHILLING EFFECT ON CIVIL RIGHTS LITIGATION

           Plaintiff first claims that costs should not be taxed against him because doing so would

have a chilling effect on civil rights litigation. Fed. R. Civ. P. 54(d)(1) provides that “[u]nless a

federal statute, these rules, or a court order provides otherwise, costs – other than attorney’s fees

– should be allowed to the prevailing party.” 28 U.S.C. § 1920 goes on to provide that the

following items are taxable costs:


           1
          Defendants’ Amended Bill of Costs [doc. #194-1] sets forth $12,316.86 in costs, but
Defendants abandoned their efforts to recover mediation costs, totaling $1,249.11, during the
briefing of this Motion.
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        (1) Fees of the clerk and marshal;
        (2) Fees for printed or electronically recorded transcripts necessarily obtained for
        use in the case;
        (3) Fees and disbursements for printing and witnesses;
        (4) Fees for exemplification and the costs of making copies of any materials where
        the copies are necessarily obtained for use in the case;
        (5) Docket fees under [28 U.S.C. § 1923];
        (6) Compensation of court appointed experts, compensation of interpreters, and
        salaries, fees, expenses, and costs of special interpretation services under [28
        U.S.C. § 1828].

These provisions set forth a presumption in favor of awarding costs to the prevailing party; they

do not suggest that civil rights claims should necessarily receive any differing treatment. See

Goostree v. Tenn., 796 F.2d 854, 864 (6th Cir. 1986) (“The prevailing party in a civil rights action

. . . is in the same position as any other prevailing party with respect to costs available pursuant to

28 U.S.C. § 1920.”); Johnson v. Okla. ex rel. Univ. of Okla. Bd. of Regents, 229 F.3d 1163, at

*3 (10th Cir. 2000) (table) (“We have upheld the ‘traditional presumption’ of awarding costs to

prevailing defendants in civil rights case[s].”) (internal citation omitted).

        Although some courts do consider the potential chilling effect on civil rights litigation as

one factor in deciding whether to award costs, see, e.g., Save Our Valley v. Sound Transit, 335

F.3d 932, 945 (9th Cir. 2003), an award of costs in this case will not have any such effect.

Plaintiff’s characterization of the issues decided in this case notwithstanding,2 the Court does not

believe that his claims presented issues of such public importance that awarding costs to

Defendants would have a detrimental effect on future civil rights litigation. Cf. Ass’n of Mexican-

American Educators v. Cal., 231 F.3d 572, 593 (9th Cir. 2000) (district court did not abuse



        2
           To the extent Plaintiff is under the impression that the Court concluded that “hearsay in
the form of [a] cursory investigation satisfied due process for detention in a mental health
facility,” as Plaintiff states in his Sur-Reply [doc. #197] to this Motion, the Court directs Plaintiff
to re-examine the Court’s Memorandum and Order granting summary judgment [doc. #179],
specifically Section III.A.2.

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discretion in denying costs to prevailing defendants where nonprofits with limited resources

brought claims presenting “close and complex” issues affecting “tens of thousands of Californians

and the state’s public school system as a whole”). Although the Court agrees with Plaintiff that

his claims were not frivolous, taxing costs in favor of the prevailing party is generally done as a

matter of course and does not suggest such a finding. Every lawsuit involves an assumption of

some amount of monetary risk on the part of the plaintiff, and the possibility of the taxation of

costs if one’s claims are not successful is merely another such risk. As such, the Court concludes

that on the facts of this case, the potential of deterring civil rights litigation does not, standing

alone, justify a denial of costs to Defendants.

II.     FEE PAID TO DEPOSE PLAINTIFF’S TREATING PHYSICIAN

        Plaintiff contends that Defendants should not be permitted to recover the $2,800 fee paid

in order to depose Plaintiff’s witness Dr. Niedermeier, Plaintiff’s treating physician, because

Plaintiff did not designate her as an expert and Defendants therefore could have subpoenaed her

and paid her the statutory $40 witness appearance fee. Defendants assert that Dr. Niedermeier

would have necessarily testified as an expert with respect to Plaintiff’s mental health, and that it is

customary to pay a treating physician a reasonable fee for attending a deposition.

        28 U.S.C. § 1920(3) provides that district courts may tax as costs “[f]ees and

disbursements for printing and witnesses.” The Supreme Court has held that under this provision,

a prevailing party may not recover fees paid to its own expert witness in excess of the amount

authorized by 28 U.S.C. § 1821(b) for compensating witness attendance in court or at a

deposition – currently set at $40 per day. Crawford Fitting Co. v. J.T. Gibbons, Inc., 482 U.S.

437, 439 (1987). It therefore logically follows that a prevailing party seeking to recover fees

expended to depose an opposing party’s witness – whether expert or not – likewise cannot


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recover more than the limit set forth in § 1821(b). See United States v. Davis, 87 F. Supp. 2d 82,

91 (D.R.I. 2000) (“The United States Supreme Court has held that prevailing party cannot

recover costs for fees paid to its own experts beyond those authorized by § 1821, and I see no

need to depart from this rule when the prevailing party paid a fee to an adverse expert witness

pursuant to [Fed. R. Civ. P. 26(b)(4)( C)].”) (internal citation omitted). Thus, regardless of

whether Dr. Niedermeier should be characterized as an expert or fact witness, Defendants’

recovery of any fee paid to secure her deposition testimony is limited by § 1821(b). Defendants’

documentation indicates that her deposition occurred in one day, and accordingly Defendants are

entitled to recover $40, and not the $2,800 fee paid to her firm.

III.   GUARDIAN AD LITEM FEES

       In its Order issued on May 4, 2009 [doc. #100], the Court appointed a guardian ad litem

(“the GAL”) to represent Plaintiff’s three minor children in depositions, and ordered that the

parties should each be billed for half of the GAL’s total fee. Defendants assert that although they

have not paid any fee to the GAL, the Court should tax their share of the fee against Plaintiff.

Plaintiff claims that he paid the GAL’s entire fee, amounting to $1,200, but that the depositions

ultimately did not take place. Plaintiff argues that the Court should therefore order Defendants to

reimburse him for their share of the GAL fee.

       The Court concludes that any obligation Defendants might have to share in the GAL fee

will be shifted to Plaintiff. Courts have found that § 1920(6), providing for the taxation of fees

for “court-appointed experts,” permits the recovery of guardian ad litem fees. See Gaddis v.

United States, 381 F.3d 444, 455-57 (5th Cir. 2004). Although Gaddis dealt with a guardian ad

litem appointed to represent a litigating party under Fed. R. Civ. P. 17(c), the rationale for

treating a guardian as an expert in those circumstances is equally applicable to a guardian


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appointed to represent a witness in a deposition. See id. at 456 (“[G]uardians ad litem appointed

by the court reasonably serve as experts in the sense that they liaise with the court and are

charged with the important duty of providing their insight as to how the judicial process is or is

not comporting with the best interests of the minor or incompetent person involved.”).

Furthermore, to the extent Plaintiff has, in fact, paid a fee to the GAL, Plaintiff has failed to

provide the Court with any supporting documentation. Plaintiff has emphasized the need for

precise documentation from Defendants concerning all costs they have incurred, and the Court

will demand no less of Plaintiff. Lastly, given that no deposition or consultation ultimately took

place, it is unclear to the Court whether it was ever necessary for Plaintiff to pay the GAL’s fee.

If it was not, it would hardly be proper for the Court to order Defendants to share in that fee.

Accordingly, the Court finds that Defendants shall not be held responsible for any portion of the

GAL’s fee.

IV.     COST OF SUBPOENAING PHONE RECORDS

        Defendants seek to recover the costs of subpoenaing telephone records relevant to certain

matters in this case. Plaintiff’s sole argument in opposition to taxing these items as costs is that

Defendants failed to sufficiently itemize the claimed costs, and after Defendants remedied that

defect, Plaintiff offered no further opposition. As such, the Court finds that $314.75 for costs

related to acquiring phone records will be taxed to Plaintiff pursuant to 28 U.S.C. § 1920(4).

V.      DEPOSITION COSTS

        “Fees for printed or electronically recorded transcripts” and “[f]ees for exemplification and

the costs of making copies of any materials” are taxable costs under § 1920 provided that the

items are “necessarily obtained for use in the case.” § 1920(2), (4); see also Marmo v. Tyson

Fresh Meats, Inc., 457 F.3d 748, 762 (8th Cir. 2006). The cost of serving a summons on a


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witness to be deposed is likewise taxable under § 1920. See Little v. Mitsubishi Motors N. Am.,

Inc., 514 F.3d 699, 701 (7th Cir. 2008).

        Plaintiff first argues that Defendants should not recover expenses from the depositions of

its corporate designees, Kenneth Gregory, Mary Theresa Barton, and Kenneth Michael Mowery,

because Defendants did not produce these individuals until after the discovery cut-off. Even if

Plaintiff’s allegation is true, and the Court has no means of verifying if it is, because Plaintiff did

not include any supporting documentation, the Court believes that such matters are more properly

addressed by the discovery process itself. Plaintiff could have filed a motion to compel or a

motion for sanctions related to this issue, and Plaintiff’s decision not to do so suggests that

Defendants’ alleged failure to produce these individuals in a timely manner did not significantly

affect Plaintiff’s case. Indeed, Plaintiff has not offered any argument as to how the information

revealed in these depositions would have been helpful in opposing Defendants’ Motion for

Summary Judgment. Plaintiff also asserts that two of the designees had only been in their

positions for several weeks when the depositions took place, but there is likewise no indication as

to how this affected Plaintiff’s ability to prove his case. As such, the Court finds that these

deposition costs are properly taxable under § 1920(2).

        Plaintiff further argues that Defendants’ efforts in deposing Plaintiff for over ten hours,

after he had already been deposed for seven hours by the Creve Coeur defendants, were punitive,

and Defendants should therefore not be permitted to recover the associated costs. Plaintiff,

however, sets forth no specific information supporting that conclusion, other than a bare assertion

that the two deposition periods were largely repetitive. It is not the Court’s responsibility to sift

through hundreds of pages of deposition testimony in order to support Plaintiff’s argument that

these costs were unnecessarily incurred. Defendants, as the prevailing parties, are presumptively


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entitled to recover the costs of deposing Plaintiff, and the Court will tax these costs against

Plaintiff under § 1920(2) because he has failed to make any showing to overcome that

presumption.

       Plaintiff next suggests that Defendants should not be permitted to recover costs from the

depositions of the Creve Coeur defendants – specifically Captain Hodak, Captain Spoerry, and

Chief Eidman of the Creve Coeur police department – because Plaintiff’s claims against those

defendants had no bearing on Defendants’ liability. Plaintiff’s argument ignores, however, that

Defendants did, in fact, use these depositions in support of their Motion for Summary Judgment.

Moreover, the Court agrees with Defendants that once Plaintiff consolidated his claims against the

two separate groups of Defendants, it became necessary for Defendant to request the transcripts

of depositions of the Creve Coeur defendants, even if it may not have been immediately apparent

that they would have yielded helpful information.

       Last, Plaintiff asserts that costs related to Dr. Niedermeier’s deposition are not

recoverable because her testimony was not necessary to Defendants’ defenses. As Plaintiff notes,

however, Dr. Niedermeier testified that she believed that prior to the incident in this case, Plaintiff

was emotionally stable and was not suicidal or otherwise in need of hospitalization, contradicting

Defendants’ claims that Plaintiff was a suicide risk. Given that Plaintiff intended to offer her

testimony to that effect at trial, it would have been highly questionable for Defendants not to

depose her beforehand. Additionally, Defendants did use her deposition testimony in support of

their Motion for Summary Judgment, and the Court therefore sees no basis for concluding that

this was an unjustified or unnecessary cost.

       In sum, the Court concludes that Defendants are entitled to recover the $7,933.00 in

deposition-related costs set forth in their Amended Bill of Costs [doc. #194-1], consisting of


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$7,803.00 for court reporter and transcript costs, and $130.00 for issuing summonses to Dr.

Niedermeier and Dr. Chilakamarri.

VI.    CONCLUSION

       The Court concludes that the following costs will be taxed against Plaintiff pursuant to

Fed. R. Civ. P. 54(d)(1) and 28 U.S.C. § 1920: $40 for the witness appearance fee of Dr.

Niedermeier, Plaintiff’s treating physician, Defendants’ share of any guardian ad litem expenses

incurred by Plaintiff, $334.75 for phone records, and $7,933.00 for costs of depositions and

summonses, totaling $8,307.75. The $2,800 fee Defendants paid to Dr. Niedermeier in order to

depose her, however, is not recoverable under § 1920.

       Accordingly,

       IT IS HEREBY ORDERED that Defendants’ Amended Motion for Costs [doc. #183] is

GRANTED, in part and DENIED, in part.

       IT IS FURTHER ORDERED that the Clerk of the Court shall tax $8,307.75 against

Plaintiff and in favor of Defendants Thomas Lasater, Michael Thomeczek, Jerry Lee, and St.

Louis County, Missouri, constituting $40 for a witness appearance fee, $334.75 for phone

records, and $7,933.00 for deposition-related expenses.

       IT IS FURTHER ORDERED that to the extent Plaintiff has incurred expenses related to

the Court’s appointment of a guardian ad litem to represent Plaintiff’s minor children in

depositions, Defendants’ obligation to share in that fee, as set forth in the Court’s Order dated

May 4, 2009 [doc. #100], shall be taxed to Plaintiff.

       Dated this 4th Day of May, 2010.

                                                        ____________________________________
                                                        E. RICHARD WEBBER
                                                        UNITED STATES DISTRICT JUDGE


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